Wil Reraieh Case 2:24-Cv-00534-LMA-IVNI 1 PUA a Rey 03/01/24 Page 1of1

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS
Laci Blanchard

(b) County of Residence of First Listed Plaintiff Terrebonne

DEFENDANTS
SBS Energy Services, LLC

County of Residence of First Listed Defendant Terrebonne

(EXCEPT IN U.S. PLAINTIFF CASES)

(IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF

THE TRACT OF LAND INVOLVED
(c) Attorneys (Firm Name, Address, and Telephone Number)
Roland Christensen, Arnold & Itkin, 6009 Memorial
Drive, Houston, TX

Attorneys (If Known)

Henry H. LeBas, LeBas Law Offices, APLC, 2 Flagg Place,
Suite 1, Lafayette LA 70508, 337-236-5500

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)

CT | U.S. Government

II IL. Cc ITIZ E N SH IP oO F PRINCI PA LPA RTI ES (Place an “X" in One Box for Plaim
(For Diversity Cases Only) and One Box for Defendant)
[*]3 Federal Question PTF DEF PTF DEF

Plaintiff (U.S. Government Not a Party) Citizen of This State lint I C | Incorporated or Principal Place C] 4 L]4
of Business In This State
C 2 U.S. Government [Ja Diversity Citizen of Another State C] 2 C] 2 Incorporated and Principal Place Ey 5 [1s
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a C] 3 fi] 3 Foreign Nation CT 6 CL] 6

Foreign Country

IV. NATURE OF SUIT (Place an “X”

in One Box Only)

Click here for: Nature of Suit Code Descriptions.
—SSEEEEE

| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY P1625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane O 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 3729%(a))
140 Negotiable Instrument Liability (_] 367 Health Care/ INTELLECTUAL |] 400 State Reapportionment
[_] 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS [| 410 Antitrust
& Enforcement of Judgment Slander Personal Injury T | 820 Copyrights 430 Banks and Banking
4 151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability fa 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans

340 Marine Injury Product New Drug Application 470 Racketeer Influenced and

(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
[] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets | | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
CJ 160 Stockholders’ Suits 355 Motor Vehicle 4 371 Truth in Lending Act | 485 Telephone Consumer
| 190 Other Contract Product Liability L] 380 Other Personal | 720 Labor/Management AL Protection Act
~| 195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) H 490 Cable/Sat TV
196 Franchise Injury CL] 385 Property Damage 862 Black Lung (923) 850 Securities/Commodities/

[REAL PROPERTY| IVI

740 Railway Labor Act
751 Family and Medical
Leave Act

[ PRISONER PETITIONS | _|790 Other Labor Litigation

|] 362 Personal Injury -
Medical Malpractice

Product Liability 863 DIWC/DIWW (405(g))
864 SSID Title XVI

[] 865 RSI (405(g))

Exchange
890 Other Statutory Actions
|_| 891 Agricultural Acts

|_| 210 Land Condemnation

440 Other Civil Rights

Habeas Corpus: 791 Employee Retirement | | 893 Environmental Matters

|_| 220 Foreclosure 44] Voting 463 Alien Detainee Income Security Act | FEDERAL TAX SUITS : 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate [| 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations [] 530 General | 871 IRS—Third Party + 899 Administrative Procedure
[_]290 All Other Real Property [_] 445 Amer. w/Disabilities - |] 535 Death Penalty |____IMMIGRATION.__| 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
| 446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other [Immigration |_| 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes

|] 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of

Confinement

V. ORIGIN (Place an “x"
Ol | Original

in One Box Only)
[=]? ‘Remened from
State Court

3. Remanded from
Appellate Court

6 Multidistrict
Litigation -
Transfer

C4 Reinstated or oO 5 Transferred from
Reopened Another District

(specify)

8 Multidistrict
Litigation -
Direct File

Proceeding

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
43 USC 1333, et seq Outer Continental Shelf Lands Act

Brief description of cause:

Accident on a fixed platform on the Outer Continental Shelf

VI. REQUESTED IN

[] CHECK IF THIS IS A CLASS ACTION DEMAND $
UNDER RULE 23, F.R.Cv.P.

CHECK YES only if demanded in complaint:

COMPLAINT: JURY DEMAND: L]ves [No

VII. RELATED CASE(S)

IF ANY (See instructions):

JUDGE DOCKET NUMBER

DATE

FOR OFFICE USE ONLY

in pas e ag Pare a LH. Lp Pas 2 4) Zo

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

